
*290ORDER
Considering the Petition for Immediate Interim Suspension Pursuant to Rule XIX, Section 19.2 filed by the Office of Disciplinary Counsel in 05-B-0665, and the report and recommendation of the hearing committee,
IT IS ORDERED that the Petition for Immediate Interim Suspension filed in 05-B-0665 be and hereby is denied. The ODC has not produced sufficient evidence demonstrating that respondent presently poses a substantial threat of serious harm to ■ the ’ public, as required by Supreme Court Rule XIX, § 19.2.
IT IS FURTHER ORDERED that the matter bearing this court’s docket number 05-B-0134 be remanded to the disciplinary board for consolidation with the pending investigative matters numbered 18110 and 18958. After appropriate proceedings, the board is directed to issue a single recommendation of discipline to this court encompassing all disciplinary matters involving respondent.
FOR THE COURT:
/s/ Pascal F. Calogero Justice, Supreme Court of Louisiana
